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NUMBER 13-04-00521-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
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&nbsp;

IN RE DARRYL LEE

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On Petition for Writ of Mandamus
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MEMORANDUM OPINION

Before Justices Hinojosa, Rodriguez, and Wittig


 
Per Curiam Memorandum Opinion




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Darryl Lee, filed a petition for writ of mandamus in the above cause on
October 1, 2004.  The Court, having examined and fully considered the petition for
writ of mandamus, is of the opinion that relator has not shown himself entitled to the
relief sought.  Accordingly, the petition for writ of mandamus is DENIED.  See Tex. R.
App. P. 52.8(a). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Do not publish.
Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed
this 18th day of October, 2004.


